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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 Christina Donahue, as Administratrix of the         :
 Estate of Angel McIntyre, deceased, Matthew         :
 Munafo, and Kristyanna Dellavecchia,                :    JURY TRIAL DEMANDED
                                                     :
        Plaintiffs,                                  :    Civil Action No.:
                                                     :
 v.                                                  :
                                                     :
 Borough of Collingdale, Borough of Darby,           :
 Borough of Collingdale Police Officer Colin         :
 Richers, individually and as a Police Officer for   :
 the Collingdale Police Department, Borough of       :
 Darby Police Officer Dante Lynch, individually      :
 and as a police officer for the Darby Police        :
 Department, Borough of Darby Police Officer         :
 Jake Lyons, individually and as a police officer    :
 for the Darby Police Department, and John Does      :
 1-10, individually and as police officers for the   :
 Collingdale and Darby Boroughs Police               :
 Departments,                                        :

        Defendants.

                                         COMPLAINT

       Plaintiffs Christina Donahue (“Donahue”), as administratrix of the Estate of Angel

McIntyre (“Angel”), deceased, Matthew Munafo (“Matthew”), and Kristyanna Dellavecchia

(“Kristyanna,” and collectively with Donahue and Matthew, each a “Plaintiff” and collectively the

“Plaintiffs”), by and through their attorneys, Grant & Eisenhofer, P.A., assert the following

complaint against Defendants Borough of Collingdale, Borough of Darby (together with Borough

of Collingdale, the “Municipal Defendants”), Borough of Collingdale Police Officer Colin

Richers, individually and as a police officer for the Collingdale Police Department (“Officer

Richers”), Borough of Darby Police Officer Dante Lynch, individually and as a police officer for

the Darby Police Department (“Officer Lynch”), Borough of Darby Police Officer Jake Lyons,
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individually and as a police officer for the Darby Police Department (“Officer Lyons”), and John

Does 1-10, individually and as police officers for the Darby Police Department, (Officer Richers,

Officer Lynch, Officer Lyons and John Does 1-10 are collectively referred to as the “Police Officer

Defendants”), and in support thereof, aver as follows:

                                            PARTIES

       1.       Plaintiff Christina Donahue, as Administratrix of the Estate of Angel McIntyre, is

and was at all material times a resident of Brookhaven, Pennsylvania.

       2.       Plaintiff Matthew Munafo is and was at all material times a resident of Havertown,

Pennsylvania.

       3.       Plaintiff Kristyanna Dellavecchia is and was at all material times a resident of

Brookhaven, Pennsylvania.

       4.       Defendant Borough of Collingdale is a Municipality of the Commonwealth of

Pennsylvania and a governmental authority that owns, operates, manages, directs, and controls the

Collingdale Police Department, which employed police officers, including the Police Officer

Defendants, and works closely with the police departments of neighboring municipalities,

including Defendant Borough of Darby.

       5.       Defendant Borough of Darby is a Municipality of the Commonwealth of

Pennsylvania and a governmental authority that owns, operates, manages, directs, and controls the

Darby Police Department, which employed police officers, including the Police Officer

Defendants, and works closely with the police departments police departments of neighboring

municipalities, including Defendant Borough of Collingdale.

       6.       Defendant Police Officer Colin Richers was at all times relevant to this action an

officer of the Collingdale Borough Police Department. He is being sued both in his individual

capacity and as a police officer for the Borough of Collingdale.
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       7.      Defendant Police Officer Dante Lynch was at all times relevant to this action an

officer of the Darby Borough Police Department. He is being sued both in his individual capacity

and as a police officer for the Borough of Darby.

       8.      Defendant Police Officer Jake Lyons was at all times relevant to this action an

officer of the Darby Borough Police Department. He is being sued both in his individual capacity

and as a police officer for the Borough of Darby.

       9.      Defendants John Doe 1-10 were at all times relevant to this action officers of the

Collingdale and Darby Borough Police Departments. They are being sued in both their individual

capacities and as police officers for the Boroughs of Collingdale and Darby.

                                 JURISDICTION AND VENUE

       10.     This action is brought pursuant to 42 U.S.C. § 1983. Jurisdiction is based upon 28

U.S.C. §§ 1331 and 1343. Plaintiff further invokes the supplemental jurisdiction under 28 U.S.C.

§ 1367(a) to hear and decide claims under state law.

       11.     Venue is proper in this district under 28 U.S.C. § 1391(b) because the events giving

rise to the claims asserted in this Complaint occurred in this judicial district.

                                   FACTUAL ALLEGATIONS

AN EVENING WITH FRIENDS TURNS FATAL WHEN IT IS INTERRUPTED BY THE
     POLICE OFFICER DEFENDANTS’ UNLAWFUL HIGH-SPEED PURSUIT

       12.     On the evening of July 15, 2020, and entering into the early morning hours of July

16, 2020, Angel (age 18) and her sister Kristyanna (age 22), decided to go to Hog Island, a historic

riverside area adjacent to the Philadelphia International Airport, with their friends Matthew (age

20) and Christopher Campetti (“Christopher,” age 19). The group planned to spend a fun evening

at Hog Island together listening to music, skipping rocks on the water, and taking some

photographs of the night sky and airplanes.

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        13.     Angel, Matthew, Kristyanna, and Christopher drove to Hog Island that evening

using two vehicles, a Honda driven by Matthew and another vehicle driven by Christopher. Angel

rode in Christopher’s vehicle, while Kristyanna rode in Matthew’s vehicle.

        14.     At approximately 12:40 a.m. on July 16, 2020, after enjoying the riverside at Hog

Island, Angel, Matthew, Kristyanna, and Christopher decided to change locations and drive to a

nearby Wawa convenience store to use the restrooms.

        15.     Upon departing the Wawa, the group determined that Matthew and Christopher,

each driving separate vehicles, would drive Kristyanna and Angel back to Kristyanna’s residence,

located at 953 Kingsman Road, Upper Chichester, Pennsylvania 19061, where Angel planned to

spend the night. At the relevant time, Angel lived with her mother at 2607 Edgmont Avenue,

Brookhaven, Pennsylvania 19015.

        16.     Angel therefore entered Matthew’s vehicle (with Matthew as the driver and Angel

as his front seat passenger), and Kristyanna entered Christopher’s vehicle (with Christopher as the

driver and Kristyanna as his front seat passenger). Matthew and Angel drove off first in Matthew’s

vehicle, with Kristyanna and Christopher following Matthew’s vehicle in Christopher’s vehicle.

        17.     Within ten minutes of the group’s departure, they would be involved in a fatal

collision that was the direct result of a needless, high-speed police pursuit improperly conducted

by the Police Officer Defendants for the purpose of apprehending an individual who was suspected

of traffic offenses.

        18.     The Police Officer Defendants’ improper and negligent high-speed pursuit of the

traffic offense suspect directly caused the fatal collision between Matthew’s vehicle and the

vehicle of the traffic offense suspect. As explained fully herein, the Police Officer Defendants’

improper conduct thereby directly caused Angel’s death at the scene of the accident, Matthew’s


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severe and life-altering injuries from the collision, and Kristyanna’s severe emotional distress and

trauma with resultant physical manifestations, as she was a first-hand witness of the collision and

thus her sister’s untimely and tragic death.

        19.     Angel’s final text message to Kristyanna, received approximately one minute

before the collision, simply read “love you.”

    THE POLICE OFFICERS DEFENDANTS UNLAWFULLY PURSUE ANTHONY
     JONES AT EXCESSIVE SPEEDS OVER SUSPECTED TRAFFIC OFFENSES

        20.     On July 16, 2020, at approximately 12:45 a.m., Officer Richers was on duty as a

uniformed patrol officer in the area of MacDade Boulevard and Chester Pike in Collingdale,

Pennsylvania.

        21.     Officer Richers was operating Collingdale Police Vehicle No. 7 when he allegedly

observed a 2002 Ford Escape (the “Escape”) sports utility vehicle (Pennsylvania License No. KJK-

4056) with a broken left brake light.

        22.     Officer Richers also allegedly observed a black male driver in the Escape, later

identified as Anthony Howard Jones (“Jones”), and witnessed Jones turn the Escape left at the red

light at MacDade Boulevard and Chester Pike.

        23.     Also travelling inside the Escape with Jones were Lamaira Faust (“Faust”), Anaijah

Solomon (“Solomon”), and Faust’s three young children, all of whom were minors at the relevant

time.

        24.     One of the children travelling in the Escape—an infant—was seated on Faust’s lap

in the front passenger seat of the Escape. The other two children, ages three (3) and five (5), were

seated in the rear passenger seats of the Escape with Solomon, though only one of these two minor

children was seated in a child safety seat.




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        25.         Upon witnessing Jones turn left at the red light, Officer Richers activated his

emergency lights to initiate a traffic stop.

        26.     In response, Jones slowed down the speed of the Escape, but continued to drive a

short distance, crossing into the adjacent Borough of Darby, and ultimately pulled into the parking

lot of a McDonald’s restaurant located at 101 S. MacDade Boulevard, Darby, Pennsylvania 19023.

        27.     Officer Richers’ vehicle proceeded to follow the Escape into the McDonald’s

parking lot. Office Richers then exited his police vehicle and began to approach the front driver

side window of the Escape.

        28.     Upon information and belief, as Officer Richers approached the front driver side

window of the Escape, he observed the two minor children seated in the back seats of the Escape

and the infant seated in Faust’s lap in the front passenger seat of the Escape.

        29.     Officer Richers then ordered Jones to turn off the Escape’s engine and exit the

vehicle.

        30.     In response to these commands, Jones yelled to Officer Richers, “I got my kids in

the car,” and began driving the Escape forward in the McDonald’s parking lot.

        31.     As Jones began to drive the Escape forward, Officer Lyons and Officer Lynch

entered the McDonald’s parking lot in clearly marked police vehicles to assist Officer Richers with

the traffic stop.

        32.     As the Escape was exiting the McDonald’s parking lot, the vehicle made contact

with the front end of Officer Lyons’ police vehicle, at a low rate of speed, before continuing on to

the westbound side of MacDade Boulevard.




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         33.   Upon information and belief, as the Escape contacted the front end of Officer

Lyons’ police vehicle, Officer Lyons observed the vehicle’s occupants, including the infant seated

in Faust’s lap and the children in the rear seats.

         34.   Officer Lynch, seeing the Escape travel onto MacDade Boulevard, immediately

drove behind the vehicle; the lights and sirens of Officer Lynch’s vehicle were active.

         35.   The Escape, which was now traveling west on MacDade Boulevard, began to

accelerate and travel at a high rate of speed.

         36.   Thereafter, Officers Richers’ and Lyons’ respective vehicles followed Officer

Lynch’s vehicle in the pursuit of the Escape. All three police vehicles were traveling at a high rate

of speed on MacDade Boulevard.

         37.   Also thereafter, and upon information and belief, John Does 1-10 joined in the

pursuit, supervised the pursuit, and/or otherwise assisted in the pursuit of the Escape that was

already ongoing.

         38.   Upon information and belief, at this point in the ongoing pursuit, Officers Richers,

Lynch, and/or Lyons advised the Police Officer Defendants (including John Does 1-10) that were

also participating in, assisting, and/or supervising the pursuit, that there were passengers travelling

in the Escape, including the two young children seated in the rear seats of the Escape, and the

infant seated on Faust’s lap in the front passenger seat of the vehicle.

         39.   Also upon information and belief, the Police Officer Defendants knew or

reasonably should have known that the infant seated on Faust’s lap and one of the young children

seated in a rear passenger seat were not seated or properly restrained in required child/infant safety

seats.




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        40.     Jones was not the owner of the Escape, nor was the car registered to his name.

Instead, the Escape was owned and registered to an individual named Tammy Harmon.

Consequently, upon information and belief, throughout the duration of the improper high-speed

police pursuit continuing until Jones’ arrest after the collision, the Police Officer Defendants were

unaware of Jones’ identity. Thus, upon information and belief, the only knowledge that the Police

Officer Defendants had at the time of the improper high-speed police pursuit was that the driver

of the Escape, whose identity was not known, had committed traffic offenses.

        41.     As the pursuit continued, Jones drove the Escape approximately one mile at an

increasingly high rate of speed, exceeding 80 miles per hour, and ran a red light at the intersection

of MacDade Boulevard and Felton Avenue, Darby, Pennsylvania 19023.

        42.     At this point in the pursuit, the Police Officer Defendants knew or should have

known that their intentional high-speed pursuit of Jones was likely to injure innocent bystanders,

including the children and infant present in the Escape, as well as any bystanders and/or other

individuals in vehicles traveling on MacDade Boulevard or the intersecting roads.

        43.     Indeed, during the course of the high-speed pursuit the Police Officer Defendants

knew or should have known that they were presently subjecting the children in the vehicle to

mental and physical trauma, and thus intended to cause said trauma by continuing their pursuit of

Jones for traffic violations.

        44.     Rather than terminate the pursuit, in conscious disregard of a great risk of harm

during the course of the pursuit and contrary to the vehicle pursuit policies that were or should

have been promulgated by their respective police departments, the Police Office Defendants

continued to pursue Jones at the high rate of speed down MacDade Boulevard, in a mixed-use

residential and commercial area with a speed limit of 25 miles per hour.



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       45.      The Police Office Defendants also failed to keep their patrol vehicles at an

appropriate and safe distance from the Escape, which increased both Jones’ desire to flee and the

risk of a catastrophic collision between the Escape and any other nearby vehicles and/or persons.

       46.      The pursuit continued at a high rate of speed for another mile before ending

abruptly when Jones ran a red light at the intersection of MacDade Boulevard and West Oak Lane

in Glenolden, Pennsylvania 19036.

       47.      In this intersection, at approximately 12:58 a.m., the Escape struck the front

passenger side of a northbound Honda driven by Matthew and occupied by Angel (the

“Collision”).

       48.      The speed and force of the Collision crushed the front passenger side of the Honda

into Angel’s body, and caused Matthew to be ejected 50 feet from the vehicle onto the pavement.

       49.      A Forensic Science Unit Crash Reconstruction Report by the Delaware County

Criminal Investigation Division concluded that at the time of the Collision the Escape was

traveling between 84 and 94 miles per hour at the moment of impact.

       50.      Upon information and belief, the Police Officer Defendants were traveling at the

same high-rate of speed as Jones, as their patrol cars kept pace with the Escape and/or closed in

on the Escape during the pursuit.

       51.      Angel was ultimately pronounced dead at the scene of the Collision while still

seated in the front passenger seat of the Honda.

       52.      Shortly after the Collision, Matthew was transported to Chester Crozer Hospital in

grave condition.

       53.      Matthew’s injuries included a septum pellucidum hemorrhage, left skull base

fracture, left sphenoid sinus fracture, right temporal bone fracture extending into



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temporomandibular joint, right clavicle fracture, right hemothorax, bilateral pulmonary

contusions, a diffuse axonal injury of the brain, and abrasions and scarring all over his body.

        54.     His acute care was complicated by ventilator dependent respiratory failure, fevers,

leukocytosis, methicillin-susceptible Staphylococcus aureus (“MSSA”) aspiration pneumonia, and

agitation.

        55.     The traumatic brain injury Matthew sustained as a result of the Collision resulted

in a cognitive deficit, which impacts every aspect of his everyday life and, in particular, caused

him to delay and alter his plans for future education.

        56.     Matthew suffered and continues to suffer from severe personal injuries, and has

been and continues to be forced to expend significant sums of money in an effort to treat his severe

injuries that occurred as a result of the Collision.

        57.     As a result of Matthew’s aforesaid injuries that were directly caused by the

Collision, Matthew has suffered and continues suffer great pain and mental anguish, and has and

continues to be hindered from attending his normal and usual daily duties, functions, and

occupations, all to his great detriment and loss.

        58.     Kristyanna and Christopher’s vehicle was directly behind Matthew’s Honda, and

was about to enter the intersection when the Collision took place.

        59.     Thus, Kristyanna, who had just witnessed the Collision that had killed her sister,

Angel, and who also was in very close proximity to the Collision, reasonably feared that she would

be harmed in the Collision.

        60.     Kristyanna, witnessing the Collision, exited Christopher’s vehicle as soon as

possible and ran to her sister Angel’s side. Kristyanna reached Angel before trailing Police Officer

Defendants could even exit their respective vehicles.



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        61.     As Kristyanna reached out to touch her sister Angel in the crushed Honda, one

Police Officer Defendant yelled, “Back away, this is a crime scene!”

        62.     Kristyanna suffers and continues to suffer from, inter alia, nightmares and night

terrors, physical numbness in the hands and feet, chest pain and tightness, headaches, heavy eyes,

flashbacks, post-traumatic stress disorder, trauma, anxiety, fear, mental harm, and other physical

and mental conditions as a result of the Collision.

        63.     Kristyanna has suffered and continues to suffer severe personal injuries and has and

continues to be forced to expend various sums of money in an effort to treat these injuries as a

result of the Collision.

        64.     As a result of the aforesaid injuries, Kristyanna has suffered and continues to suffer

great pain and mental anguish, and has and continues to be hindered from attending her normal

and usual daily duties, functions, and occupations, all to her great detriment and loss.

                           VEHICLE PURSUITS IN PENNSYLVANIA

        65.     The Pennsylvania Vehicle Code requires              police agencies        within   the

Commonwealth to record all motor vehicle pursuits and report their data to the Pennsylvania State

Police (“PSP”). See 75 Pa. C.S.A. §§ 6341-6345.

        66.     The PSP must collect these reports, analyze the data, and compile and publish an

annual summary of its findings.

        67.     According to the 2020 Annual PSP Report, police departments across Pennsylvania

reported 2,239 vehicle pursuits in 2020.1




1
  See 2020 Annual Report, prepared by the Pennsylvania State Police, Bureau of Research and
Development, available at https://www.policepursuits.pa.gov/PDF/2020_Annual_Report.pdf (site
last visited April 19, 2022).
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        68.     While traffic offenses were the most common reason for police officers to initiate

a vehicle pursuit, less than half of all vehicle pursuits in Pennsylvania in 2020 ended with suspect

apprehension during the pursuit.2

        69.     61.23% of police officer pursuits ended when police discontinued them for various

reasons, including an officer/supervisor's decision to end the pursuit, or because the violator

stopped voluntarily.3

        70.     Police were also most likely to terminate pursuits when a pursuit was initiated for

a traffic offense.4

        71.     The 2020 Annual PSP Report notes that “[t]he basic dilemma associated with high-

speed police pursuits of fleeing individuals is deciding whether the benefits of potential

apprehension outweigh the risks to police officers, the public, and the violator(s).”5

        72.     Of the 2,239 pursuits that occurred throughout the Commonwealth in 2020, only

one death of an uninvolved person is cited in the 2020 Annual Report. Upon information and

belief, this death pertained to the Police Officer Defendants’ pursuit of Jones and Angel’s resultant

death from the Collision.

    MUNICIPAL DEFENDANTS FAILED TO ADOPT, IMPLEMENT, AND ENFORCE
                   PROPER VEHICLE PURSUIT POLICIES

        73.     Pennsylvania law requires that police departments develop and implement a written

emergency vehicle response policy governing the procedures under which a police officer should




2
  Id.
3
  Id.
4
  44.47% of pursuits in 2020 stemming from a traffic offense were voluntarily terminated by police
officers and/or police departments in Pennsylvania. See supra note 1.
5
  Id.
                                                 12
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initiate, continue, and terminate a motor vehicle pursuit.6 The policy may be the model policy

endorsed by a national or state organization or association of police chiefs or police officers.

       74.     The Municipal Defendants were required to develop and implement vehicle pursuit

policies that encompassed the guidelines above and reasonably should have had policies that met

or exceeded endorsed model policies.

       75.     Under 75 Pa. Con. Stat. § 6343(c), Pennsylvania police departments must, at a

minimum, adopt a pursuit policy with the following procedural elements:

                       (1) Decision making criteria or principles for initiation of
                       pursuit. These criteria or principles may include, but not be
                       limited to:

                               (i) The potential for harm or immediate or potential
                               danger to others if the fleeing individual or
                               individuals escape.

                               (ii) The seriousness of the offense committed or
                               believed to have been committed by the individual or
                               individuals attempting to flee.

                               (iii) Safety factors that pose a risk to police officers,
                               other motorists, pedestrians and other persons.

                       (2) Responsibilities of the pursuing officers.

                       (3) Responsibilities for the communications center.

                       (4) Responsibilities of the field supervisor.

                       (5) Traffic regulations during pursuit, including, but not
                       limited to, the use of emergency equipment, audio signals
                       and visual signals.

                       (6) Pursuit tactics.



6
  75 Pa. Con. Stat. § 6341 defines “pursuit” as “an active attempt by apprehend one or more
occupants of a motor vehicle when the driver of the vehicle is resisting the apprehension by
maintaining or increasing his speed or by ignoring the police officer's audible or visual signal to
stop.”
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                        (7) Roadblock usage.

                        (8) Communication and coordination of pursuit protocol for
                        interjurisdictional pursuit.

                        (9) Decision making criteria or principles for termination of
                        pursuit. These criteria or principles may include, but not be
                        limited to, safety factors that pose a risk to police officers,
                        other motorists, pedestrians and other persons.


       76.      The Municipal Defendants should have adopted, implemented, and enforced

vehicle pursuit policies that encompassed some or all of the following guidelines:

             a. that acknowledgment, control, and supervision of a pursuit must be made by a
                supervising officer;

             b. that officers engaged in the pursuit must acknowledge and/or report the pursuit
                through police radio;

             c. that the supervising officer may terminate the pursuit at his/her discretion, and that
                any such decision to terminate is final and not subject to being countermanded;

             d. that, if no justification for the pursuit is given by the initiating officer or unit over
                police radio, it shall be the responsibility of all supervisors on the specific radio
                band, to immediately terminate the pursuit;

             e. that pursuits should be terminated as soon as a supervising officer believes it has
                become too dangerous;

             f. that during a pursuit, no more than two (2) marked police vehicles should pursue a
                suspect vehicle;

             g. that during a pursuit all other available sworn personnel should monitor police radio
                and be prepared to stop or divert pedestrian or vehicular traffic that may be in the
                path of an oncoming pursuit;

             h. that, to lessen the possibility of a collision should the fleeing vehicle suddenly stop
                or change direction, a “safe distance” should always be maintained between the
                pursued vehicle and the pursuing police vehicles;

             i. that a minimum of five (5) car lengths should always be maintained during any
                pursuit, and a greater distance may be necessary based upon the speed of the
                pursuit, road and weather conditions, the suspect vehicle’s behavior (i.e., how the



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                vehicle is being operated, etc.), the pursuing vehicle’s characteristics, officer’s
                driving experience/capabilities, or any other circumstances that may exist; and,

             j. that all vehicles engaged in a pursuit must have, and will operate the police vehicle
                with, emergency equipment (i.e., lights and sirens) activated continuously
                throughout the pursuit.

       77.      Had the Municipal Defendants adopted, implemented, and enforced a proper

pursuit policy, the Police Officer Defendants would not have pursued Jones and caused the

collision and resultant injury and harm to Plaintiffs.

       78.      Under an adequate pursuit policy, the vehicle pursuit of Jones would have only

been justified if the Police Officer Defendants were:

             a. In close proximity to a suspect vehicle and believed a pursuit was necessary to
                prevent the death or serious bodily injury of another person, or

             b. In close proximity to a suspect vehicle and believed both that: 1) the pursuit was
                necessary to effect the arrest or prevent escape; and 2) the police officer had
                probable cause to believe that the person being pursued had committed or attempted
                a forcible felony or had probable cause to believe that the person being pursued
                possessed a deadly weapon, other than the vehicle itself.

       79.      Upon information and belief, the Municipal Defendants negligently failed to adopt

such policy or in the alternative, failed to properly implement and enforce such a policy.

       80.      Upon information and belief, even if adequate policies were in place, the Municipal

Defendants had a custom and practice of disregarding adopted vehicle pursuit policies. This is

evident from, among other things, the Police Officer Defendants' conduct during their pursuit of

Jones, which conduct failed to conform to any reasonable pursuit policy and fell far below the

standard of care required of police officers involved in a vehicle pursuit.

       81.      Upon information and belief, as evidenced, in part, by the Police Officer

Defendants’ actions and omissions during their pursuit of Jones, although the Municipal

Defendants maintained or should have maintained adequate pursuit policies, the Municipal



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Defendants’ custom and practice was to consciously disregard, and thus to act with deliberate

indifference, the policies they had or should have had in place and to sanction or condone,

expressly or implicitly, their respective police officers’ violations of the constitutional rights of

bystanders when engaging in vehicle pursuits.

       82.     Due to the Municipal Defendants’ failure to properly enforce an adequate pursuit

policy, or in the alternative, failure to adequately supervise police officers to ensure that their

pursuit policy, if any existed, was properly followed, Plaintiffs sustained the damages set forth

herein and Angel, at just eighteen years of age, tragically lost her life.

                   THE POLICE OFFICER DEFENDANTS VIOLATED
                 ESTABLISHED MODEL VEHICLE PURSUIT POLICIES

       83.     Alternatively, as set forth herein, the Police Officer Defendants intentionally,

willfully, recklessly, and/or negligently failed to adhere to policies and guidelines established by

the Municipal Defendants’ respective police departments.

       84.     The Police Officer Defendants had no reason to believe that their decision to pursue

Jones after he left the McDonald’s parking lot was necessary to prevent the death or serious bodily

injury of another person, as would be required by an adequate police pursuit policy.

       85.     The Police Officer Defendants also did not have probable cause to believe that

Jones had committed or had attempted to commit a forcible felony or that he possessed a deadly

weapon other than the vehicle Jones was driving.

       86.     As alleged above, upon information and belief, the Police Officer Defendants did

not know Jones’ identity at the time of their traffic stop and pursuit of Jones. Also upon

information and belief, at the time of this traffic stop and subsequent improper pursuit, the Police

Officer Defendants were only aware that the driver of the Escape had committed traffic offenses.




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        87.     As a result of the Police Officer Defendants’ improper pursuit, Plaintiffs sustained

the damages set forth herein and Angel, at just eighteen years of age, tragically lost her life.

                                             COUNT I

 42 U.S.C. §1983 — 14TH AMENDMENT SUBSTANTIVE DUE PROCESS VIOLATION
                  All Plaintiffs Against the Police Officer Defendants

        88.     All preceding allegations are incorporated by reference as if fully set forth herein.

        89.     Count I is alleged by all Plaintiffs against the Police Officer Defendants.

        90.     The Police Officer Defendants initiated an improper vehicle pursuit that lasted for

more than two miles, at speeds exceeding 80 to 90 miles per hour on a busy road, which pursuit

was initiated and continued based upon mere traffic violations—a non-functioning brake light and

an illegal left turn on red light.

        91.     This improper police pursuit of Jones also occurred during the very early morning

hours when it was dark outside, at a time when other motorists that were travelling on the same

and/or nearby roads were likely less alert, tired, and/or with less visibility than daylight hours.

        92.     The improper police pursuit of Jones also was initiated and continued despite that

the Police Officer Defendants’ knew or should have known that there were young children and an

infant in the vehicle being pursued, and further that two of these three minors (one of the children

seated in a rear seat of the Escape and an infant seated on the lap of the front seat passenger) were

unrestrained in the vehicle as they were not in proper child / infant car seats.

        93.     The Police Officer Defendants knew or should have known that by conducting,

continuing, and failing to terminate the improper pursuit of Jones, as well as by failing to intervene

to terminate this improper pursuit, the pursuit was certain to cause physical and mental injury to

others, including the children in the Escape and other bystanders, including Plaintiffs. The Police

Officer Defendants thus intentionally disregarded the risk of these injuries by prioritizing the effort


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to apprehend the driver of the Escape for mere traffic violations. This decision by the Police

Officer Defendants was despite the fact that their conduct could not possibly justify any

government interest, much less the apprehension of, a suspected traffic offender.

       94.     The Police Officer Defendants’ conduct constitutes a state-created danger and was

so egregious that it rises to a level that shocks the conscious.

       95.     As a result of the above actions, the Police Officer Defendants caused Plaintiffs to

be deprived of life and/or liberty, and have violated Plaintiffs’ clearly established Fourteenth

Amendment right under the United States Constitution to substantive due process of law.

                                               COUNT II

                          42 U.S.C. §1983 — MONELL LIABILITY
                        All Plaintiffs Against the Municipal Defendants

       96.     All preceding allegations are incorporated by reference as if fully set forth herein.

       97.     Count II is alleged by all Plaintiffs against the Municipal Defendants.

       98.     The Police Officer Defendants acted under the color of law, and under the authority

of one or more interrelated de facto policies, practices, and/or customs of the Municipal

Defendants’ to violate Plaintiffs’ rights as set forth herein.

       99.     Prior to July 16, 2020, it was a de facto policy, practice, and/or custom of the

Municipal Defendants, through their respective police departments, chiefs of police, mayors, and

borough counsels, to inadequately supervise and train their police officers, including the Police

Officer Defendants, concerning adequate vehicle pursuit policies and practices, thereby failing to

adequately discourage constitutional violations on the part of their police officers. Upon

information and belief, the Municipal Defendants did not require appropriate in-service training

or re-training of police officers who were known to engage in improper, intentional, willful,

reckless, and/or negligent vehicle pursuits.

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        100.    It was the de facto policy, practice, and/or custom of the Municipal Defendants,

through their respective police departments, chiefs of police, mayors, and borough councils, to

inadequately supervise and train their police officers, including the Police Officer Defendants, to

intervene and/or report constitutional violations and misconduct committed by their fellow police

officers.

        101.    The Municipal Defendants, acting through their respective police departments,

chiefs of police, mayors, and borough councils, have adopted and continue to maintain a

recognized and accepted policy, custom, and/or practice of systematically engaging in dangerous

and improper vehicle pursuits, without regard to the model and accepted vehicle pursuit policies

and guidelines, which conduct has resulted in subjecting other persons, including innocent

bystanders like Plaintiffs, to unjustifiable risks of property damage, personal injury, and death.

        102.    The Municipal Defendants, acting through their respective police departments,

chiefs of police, mayors, and borough councils, were fully aware of the dangers posed by vehicle

pursuits and the resultant need for proper training and supervision of their police officers, but the

Municipal Defendants were deliberately indifferent to those risks and failed to properly train and

supervise their police officers regarding those risks.

        103.    As a result of the above-described practices, policies, and/or customs, the

Municipal Defendants’ respective police officers, including the Police Officer Defendants,

believed that their actions would not be properly monitored by supervisory police officers and/or

other employees of the Municipal Defendants, and that this improper conduct would not be

investigated or sanctioned, but would be tolerated and condoned by the Municipal Defendants.




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       104.    As a result of the above actions, the Municipal Defendants caused Plaintiffs to be

deprived of life and/or liberty, and have therefore violated Plaintiffs’ Fourteenth Amendment right

under the United States Constitution to substantive due process of law.

                                            COUNT III

                     PENNSYLVANIA STATE LAW — NEGLIGENCE
                      All Plaintiffs Against the Police Officer Defendants

       105.    All preceding allegations are incorporated by reference as if fully set forth herein.

       106.    Count III is alleged by all Plaintiffs against the Police Officer Defendants.

       107.    The negligence, carelessness, and/or recklessness of the Police Officer Defendants,

acting alone, jointly, and/or in concert and conspiracy, acting at all times relevant hereto as police

officers of Municipal Defendants’ respective police departments, was the direct and proximate

cause of the Collision and the injuries and damages sustained by Plaintiffs. This conduct consisted

of, but was not limited to:

           a. Engaging in a high-speed pursuit when the Police Officer Defendants knew or
              should have known that the potential for serious bodily injury outweighed any
              government interest;

           b. Initiating the pursuit when the Police Officer Defendants knew or should have
              known that the potential for harm, danger, and/or serious bodily injury outweighed
              the seriousness of the traffic offenses that Officer Richers witnessed Jones commit;

           c. Failing to consider roadway conditions and time of day when initiating and
              continuing the pursuit;

           d. Failing to recognize and use alternative means to apprehend Jones;

           e. Failing to appropriately coordinate the apprehension of Jones amongst all Police
              Officer Defendants and with other members of the Municipal Defendants’
              respective police departments;

           f. Failing to appropriately coordinate, initiate, continue, and/or terminate an
              interjurisdictional pursuit;




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           g. Failing to take reasonable action to increase the likelihood that MacDade Boulevard
              and any intersecting roads would be clear of traffic in the area of the pursuit;

           h. Failing to keep a proper lookout on the roadway for potential hazards to the vehicles
              that the Police Officer Defendants operated and to the subject of their pursuit;

           i. Driving at excessive speeds and by continuing the pursuit which encouraged Jones
              to continue fleeing in his respective vehicle (thereby prolonging the pursuit);

           j. Failing to use all auditory and visual alert systems, including vehicle horns, at the
              Police Officer Defendants’ disposal to alert other vehicles nearby, including the
              vehicles that Plaintiffs were travelling in, of the pursuit;

           k. Failing to terminate the pursuit when the Police Officer Defendants knew or should
              have known that the potential for serious bodily injury outweighed any government
              interest;

           l. Failing to timely communicate facts about the nature and location of the pursuit to
              the Police Officer Defendants’ respective police departments and supervising
              officers;

           m. Failing to follow, adhere to, and apply police department policies and guidelines
              regarding the initiation, continuance, and termination of a pursuit and safety during
              a pursuit;

           n. Failing to understand and/or follow the commands of the Police Officer
              Defendants’ respective supervising officers concerning the pursuit and
              apprehension of Jones;

           o. Operating their police motor vehicles without due regard to the rights, safety, and
              position of surrounding vehicles, like those that Plaintiffs were travelling in; and,

           p. Violating the statutes of the Commonwealth of Pennsylvania governing the
              operation of motor vehicles on streets and highways, specifically, 75 Pa. C.S. §§
              3301, et seq., and 3716.

       108.    As a direct result of the negligent, careless, and/or reckless conduct of the Police

Officer Defendants, each Plaintiff sustained damages, including those articulated herein.

                                           COUNT IV

       PENNSYLVANIA STATE LAW — RECKLESS DISREGARD OF SAFETY
               All Plaintiffs Against the Police Officer Defendants

       109.    All preceding allegations are incorporated by reference as if fully set forth herein.

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       110.    Count IV is alleged by all Plaintiffs against the Police Officer Defendants.

       111.    The Police Officer Defendants had knowledge of the extreme danger to which they

subjected members of the public, including Plaintiffs, during the vehicle pursuit. They were aware

of the inherent danger of a high-speed chase in that area. They were also aware that they were able

to terminate the risk of harm by stopping or altering the pursuit.

       112.    The Police Officer Defendants intentionally failed to adhere to their duties as police

officers with respect to public safety and vehicle pursuits, as described above, knowing or having

reason to know that their acts and omissions created an unreasonable and substantial risk of harm

to members of the public, including Plaintiffs.

       113.    The improper conduct of the Police Officer Defendants, as alleged herein,

constituted the tort of reckless disregard of safety. See, §500m 2 Restatement of Torts, 2d.

       114.    As a result of the Police Officer Defendants conduct, Plaintiffs suffered damages,

including those articulated herein.

       115.    The actions and conduct of the Police Officer Defendants exceeded the normal

standards of decent conduct and were willful, malicious, oppressive, outrageous, and unjustifiable

and thus compensatory and punitive damages are necessary and appropriate.

                                            COUNT V

     PENNSYLVANIA STATE LAW — NEGLIGENCE (VICARIOUS LIABILITY)
                All Plaintiffs Against the Municipal Defendants

       116.    All preceding allegations are incorporated by reference as if fully set forth herein.

       117.    Count V is alleged by all Plaintiffs against the Municipal Defendants.

       118.    The Police Officer Defendants were the agents, servants, workmen, and employees

of the Municipal Defendants, and at all relevant times were engaged in the service and the




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performance of their duties as police officers employed by or as agents of the Municipal

Defendants.

       119.    On July 16, 2020, prior to and during the course of the pursuit, the Police Officer

Defendants were operating vehicles owned by the Municipal Defendants and had the Municipal

Defendants’ permission to operate said vehicles.

       120.    The negligence, carelessness, and/or recklessness of the Municipal Defendants,

acting alone, jointly, and/or in concert and conspiracy, themselves and through their agents,

including the Police Officer Defendants, and at all times relevant hereto acting within the scope of

their employment with or agency from the Municipal Defendants, was the direct and proximate

cause of the Collision and the injuries and damages sustained by Plaintiffs. That conduct consisted

of, but was not limited to:

           a. Engaging in a high-speed pursuit when the Police Officer Defendants knew or
              should have known that the potential for serious bodily injury outweighed any
              government interest;

           b. Initiating the pursuit when the Police Officer Defendants knew or should have
              known that the potential for harm, danger, and/or serious bodily injury outweighed
              the seriousness of the traffic offenses that Officer Richers witnessed Jones commit;

           c. Failing to consider roadway conditions and time of day when initiating and
              continuing the pursuit;

           d. Failing to recognize and use alternative means to apprehend Jones;

           e. Failing to appropriately coordinate the apprehension of Jones amongst all Police
              Officer Defendants and with other members of the Municipal Defendants’
              respective police departments;

           f. Failing to appropriately coordinate, initiate, continue, and/or terminate an
              interjurisdictional pursuit;

           g. Failing to take reasonable action to increase the likelihood that MacDade Boulevard
              and any intersecting roads would be clear of traffic in the area of the pursuit;




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           h. Failing to keep a proper lookout on the roadway for potential hazards to the vehicles
              that the Police Officer Defendants operated and to the subject of their pursuit;

           i. Driving at excessive speeds and by continuing the pursuit which encouraged Jones
              to continue fleeing in his respective vehicle (thereby prolonging the pursuit);

           j. Failing to use all auditory and visual alert systems, including vehicle horns, at the
              Police Officer Defendants’ disposal to alert other vehicles nearby, including the
              vehicles that Plaintiffs were travelling in, of the pursuit;

           k. Failing to terminate the pursuit when the Police Officer Defendants knew or should
              have known that the potential for serious bodily injury outweighed any government
              interest;

           l. Failing to timely communicate facts about the nature and location of the pursuit to
              the Police Officer Defendants’ respective police departments and supervising
              officers;

           m. Failing to follow, adhere to, and apply police department policies and guidelines
              regarding the initiation, continuance, and termination of a pursuit and safety during
              a pursuit;

           n. Failing to understand and/or follow the commands of the Police Officer
              Defendants’ respective supervising officers concerning the pursuit and
              apprehension of Jones;

           o. Operating their police motor vehicles without due regard to the rights, safety, and
              position of surrounding vehicles, like those that Plaintiffs were travelling in; and,

           p. Violating the statutes of the Commonwealth of Pennsylvania governing the
              operation of motor vehicles on streets and highways, specifically, 75 Pa. C.S. §§
              3301, et seq., and 3716.

       121.    The Municipal Defendants are liable for the negligent, careless and/or reckless acts

of their agents, servants, workmen and/or employees, the Police Officer Defendants, as set forth

herein pursuant to the doctrine of respondeat superior and are thus liable to Plaintiffs for damages,

including those articulated herein.




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                                              COUNT VI

        PENNSYLVANIA STATE LAW — NEGLIGENCE (DIRECT LIABILITY)
                 All Plaintiffs Against the Municipal Defendants

        122.    All preceding allegations are incorporated by reference as if fully set forth herein.

        123.    Count VI is alleged by all Plaintiffs against the Municipal Defendants.

        124.    The negligence, carelessness, and/or recklessness of the Municipal Defendants,

which was the direct and proximate cause of the incident and the injuries and damages sustained

by Plaintiffs consists of, but is not limited to:

            a. Failing to create, implement and/or enforce effective policies and guidelines
               concerning the initiation, continuation and termination of pursuits;

            b. Failing to create, implement and/or enforce policies and guidelines concerning
               pursuits in accordance with 75 Pa. Con. Stat. § 6343(c) and/or that were in keeping
               with model policies endorsed by national or state organizations or associations of
               police chiefs or police officers;

            c. Failing to effectively train, supervise and/or discipline police officers with respect
               to vehicle pursuit policies;

            d. Failing to select and hire police officers that would competently adhere to vehicle
               pursuit policies;

            e. Failing to discipline police officers who violated pursuit policies, thereby creating
               and fostering an environment in which police officers believed their violations of
               pursuit policies would be tolerated and/or condoned;

            f. Permitting police officers to initiate pursuits when those officers knew or should
               have known that the potential for harm, danger and/or serious injury outweighed
               the seriousness of the suspected offense;

            g. Failing to effectively intervene to terminate improper pursuits;

            h. Failing to train and/or supervise police officers to consider roadway conditions and
               time when initiating and continuing a pursuit;

            i. Failing to train police officers when it is appropriate to use alternative means in lieu
               of pursuit;

            j. Failing to have the tools and equipment necessary for safe and effective pursuits;

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           k. Failing to train and/or supervise police officers regarding how to conduct a safe and
              effective interjurisdictional pursuit;

           l. Failing to train, supervise and/or discipline police officers with respect to the
              dangers posed by driving at excessive speeds or taking actions that would cause a
              fleeing suspect to do the same;

           m. Failing to train and/or discipline officers with respect to the effective use all
              auditory and visual alert systems at their disposal in police patrol vehicles; and

           n. Failing to put an effective chain of command in place during the pursuit;

       125.    As    a direct result of the negligent, careless, and/or reckless conduct of the

Municipal Defendants, Plaintiffs sustained damages, including those detailed herein.

                                       COUNT VII
    PENNSYLVANIA STATE LAW – WRONGFUL DEATH (42 Pa. C.S.A. § 8301 et seq.)
     Plaintiff Donahue, as Administratrix of the Estate of Angel McIntyre, Against All
                                       Defendants

       126.    All preceding allegations are incorporated by reference as if fully set forth herein.

       127.    Count VII is alleged by Plaintiff Christina Donahue, as Administratrix of the Estate

of Angel McIntyre, against all Defendants.

       128.    Plaintiff Donahue brings this action on behalf of herself and as representative of the

wrongful death beneficiaries of Angel McIntyre, pursuant to the Pennsylvania Wrongful Death

Act, 42 Pa. C.S.A. § 8301 et seq., and claims all damages recoverable under the Pennsylvania

Wrongful Death Act.

       129.    The injuries sustained by Angel as set forth herein, including, but not limited to,

her death, were directly and proximately caused by the intentional, willful, reckless, careless and/or

negligent conduct of Defendants, as set forth herein.

       130.    As a direct and proximate result of the intentional, willful, reckless, careless, and/or

negligent conduct of all Defendants, Angel’s wrongful death beneficiaries suffered, are suffering,



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and will continue to suffer damages, injuries, and losses, including, but not limited to, a loss of

financial support and contributions beneficiaries would have received from Angel, including

monies which Angel would have provided for items such as clothing, food, shelter, medical care,

education, entertainment, recreation, and gifts.

       131.    As a direct and proximate result of the intentional, willful, reckless, careless and/or

negligent conduct of Defendants, Angel’s wrongful death beneficiaries have been, continue to be

and will in the future be wrongfully deprived of sums of monies which Angel would have

contributed to their support.

       132.    As a direct and proximate result of intentional, willful, reckless, careless and/or

negligent conduct of Defendants, Angel’s wrongful death beneficiaries have been caused to suffer

the aforesaid damages, for which Plaintiff Christina Donahue, as Administratrix of the Estate of

Angel McIntyre, here makes claim.

                                          COUNT VIII

    PENNSYLVANIA STATE LAW — SURVIVAL ACT (42 Pa. C.S.A. § 8302 et seq.)
     Plaintiff Donahue, as Administratrix of the Estate of Angel McIntyre, Against All
                                       Defendants

       133.    All preceding allegations are incorporated by reference as if fully set forth herein.

       134.    Count VIII is alleged by Plaintiff Donahue, as Administratrix of the Estate of Angel

McIntyre, against all Defendants.

       135.    Plaintiff brings this action on behalf of the Estate of Angel McIntyre pursuant to

the Survival Statute of the Commonwealth of Pennsylvania Act, 42 Pa. C.S.A. § 8302 et seq., and

claims all damages recoverable thereunder.

       136.    The injuries sustained by Angel as set forth herein, including, but not limited to,

her death, were proximately caused by the intentional, willful, reckless, careless, and/or negligent

conduct of Defendants.
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        137.    As a direct and proximate result of the intentional, willful, reckless, careless, and/or

negligent conduct of Defendants, Angel suffered extreme pain and suffering, extreme mental

anguish, serious disabling and permanent injuries, including death, as described herein and, loss

of earnings throughout her life expectancy, for which Plaintiff Donahue, as Administratrix of the

Estate of Angel McIntyre, here makes claim.

                                             COUNT IX

       STATE LAW — NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
              Plaintiff Kristyanna Against the Police Officer Defendants

        138.    All preceding allegations are incorporated by reference as if fully set forth herein.

        139.    Count IX is alleged by Plaintiff Kristyanna against the Police Officer Defendants.

        140.    At the moment of the Collision, as described herein, Kristyanna was (1) a bystander

about to enter the intersection where the Collision took place and thus in the zone of danger; (2) a

witness to the collision that killed her sister, Angel; and (3) reasonably believed, as a result of the

emotional shock from a contemporaneous observance of the Collision, that she might be injured

as a result of the Collision.

        141.    The negligence, carelessness, and/or recklessness of the Police Officer Defendants,

acting alone, jointly, and/or in concert and conspiracy, as set forth herein, was the direct and

proximate cause of the Collision.

        142.    As a direct and proximate result of the negligence, carelessness, and/or recklessness

of the Police Officer Defendants, acting alone, jointly, and/or in concert and conspiracy, Plaintiff

sustained severe emotional and psychological injuries, with resultant physical manifestations of

said injuries, and here makes claim.




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                                             COUNT X

                  STATE LAW — OUTRAGEOUS CONDUCT CAUSING
                             SEVERE EMOTIONAL DISTRESS
                  Plaintiff Kristyanna Against the Police Officer Defendants

       143.    All preceding allegations are incorporated by reference as if fully set forth herein.

       144.    Count X is alleged by Plaintiff Kristyanna against the Police Officer Defendants.

       145.    The Police Officer Defendants, acting alone, jointly, and/or in concert and

conspiracy, by extreme and outrageous conduct, intentionally or recklessly caused severe

emotional distress to Kristyanna.

       146.    The acts and omissions of the Police Officer Defendants, as alleged in the preceding

paragraphs, constitute the tort of Outrageous Conduct Causing Severe Emotional Distress, all to

Kristyanna’s great detriment and loss.

       147.    As a result of the Police Officer Defendants’ conduct, Kristyanna suffered physical

injuries, pain and suffering, emotional distress, and related financial losses.

       148.    The actions and conduct of the Police Officer Defendants exceeded the normal

standards of decent conduct and were willful, oppressive, outrageous, and unjustifiable and thus

compensatory and punitive damages are necessary and appropriate.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Christina Donahue, as Administratrix of the Estate of Angel

McIntyre, deceased, Matthew Munafo, and Kristyanna Dellavecchia, respectfully request that the

Court enter judgment in their favor and against Defendants on all counts of the complaint, and

award relief as follows:

                   A. Compensatory damages against the Defendants, jointly and severally, in
                      an amount to be determined at trial;

                   B. Punitive damages against the individual Police Officer Defendants for

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